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  8
                                UNITED STATES DISTRICT COURT
  9
                            SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES, et al.,                                Case No.: 3:19-cv-01226-L-AHG
 12                                           Plaintiffs,
                                                            Hon. M. James Lorenz and Magistrate
 13   v.                                                    Judge Allison H. Goddard
 14   XAVIER BECERRA, in his official
 15   capacity as Attorney General of the State of PARTIES’ JOINT MOTION TO
      California, et al.,                          EXCEED PAGE LIMIT OF BRIEFS
 16
                                     Defendants. REGARDING PLAINTIFFS’
 17                                                MOTION FOR PRELIMINARY
                                                   INJUNCTION
 18

 19                                                          Complaint Filed: July 1, 2019
                                                             Amended Complaint Filed: July 30, 2019
 20
                                                             First Amended Complaint and Summons
 21                                                         Served: August 1, 2019
 22

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              PARTIES’ JOINT MOTION TO EXCEED PAGE LIMIT OF BRIEFS REGARDING PLAINTIFFS’ MOTION FOR PRELIMINARY
                                    INJUNCTION; SUPPORTING DECLARATION OF JOHN W. DILLON (3:19-CV-01226-L-AHG)
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                                                5




  1                                          JOINT MOTION
  2
              Plaintiffs Matthew Jones, et al., and Defendants Xavier Becerra (in his
  3

  4   official capacity as Attorney General of the State of California) and Brent E. Orick (in

  5   his official capacity as Acting Director of the Department of Justice Bureau of
  6
      Firearms), through their respective attorneys of record, hereby move the Court to
  7

  8   allow (1) Plaintiffs to exceed the page limit of 25 pages pursuant to CivLR Rules

  9   7.1(h) and 7.2, by no more than seven (7) additional pages, for Plaintiffs’
 10
      memorandum of points and authorities in support of Plaintiffs’ motion for preliminary
 11

 12   injunction, and (2) Defendants to exceed the page limit by the same amount (seven

 13   pages) for Defendants’ memorandum of points and authorities in opposition to
 14
      Plaintiffs’ preliminary injunction motion.
 15

 16           This Joint Motion is supported by the Declaration of John W. Dillon in

 17   Support of Parties’ Joint Motion to Exceed Page Limit of Briefs Regarding Plaintiffs’
 18
      Motion to Preliminary Injunction which is filed and served herewith.
 19

 20           WHEREAS, Plaintiffs filed their original preliminary injunction motion on
 21   October 4, 2019. Dkt. No. 12. That motion challenged the constitutionality of
 22
      California Penal Code section 27510 as a violation of the Second Amendment. On
 23

 24   October 9, 2019, the parties’ counsel participated in a Case Management Conference
 25   (CMC) with Magistrate Judge Goddard pursuant to Magistrate Judge Goddard’s
 26
      Order. Dkt. No. 8. At the CMC, Plaintiffs’ counsel discussed the possibility that
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              PARTIES’ JOINT MOTION TO EXCEED PAGE LIMIT OF BRIEFS REGARDING PLAINTIFFS’ MOTION FOR PRELIMINARY
                                    INJUNCTION; SUPPORTING DECLARATION OF JOHN W. DILLON (3:19-CV-01226-L-AHG
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  1   Senate Bill 61 (SB 61) would be signed by California Governor Newsom and that
  2
      SB 61 would make changes to Penal Code section 27510.
  3

  4           On October 11, 2019, Governor Newsom signed SB 61 into law. Due to

  5   SB 61’s amendments to Penal Code section 27510, and based on the recommendation
  6
      of Magistrate Judge Goddard, Plaintiffs will file and serve a Second Amendment
  7

  8   Complaint and file a new motion for preliminary injunction. Plaintiffs’ original

  9   motion for preliminary injunction was withdrawn on October 18, 2019. Dkt. No. 16.
 10
              On November 5, 2019, the parties filed a stipulation to allow Plaintiffs to file
 11

 12   their Second Amended Complaint. Dkt. No. 17. This Court is currently considering

 13   parties’ joint motion and stipulation to allow Plaintiffs to file their Second Amended
 14
      Complaint. Plaintiffs intend to immediately file their SAC if this Court grants parties’
 15

 16   motion. Plaintiffs intend to refile their motion for preliminary injunction on or shortly

 17   after November 8, 2019.
 18
              The parties have good cause for their joint request to exceed the page limit in
 19

 20   their briefing of the motion. To properly account for the change in law, Plaintiffs
 21   intend to address the general timing of the amendment, the law’s effect on ordinary,
 22
      law-abiding Young Adults’ (adults ages 18-to-20 years old) ability to purchase and
 23

 24   acquire firearms in California, and the legislative history for the change in the law.
 25   This new information will require Plaintiffs to engage in additional discussion beyond
 26
      what was already submitted to the Court. Specifically, Plaintiffs already filed a
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                                                        2
              PARTIES’ JOINT MOTION TO EXCEED PAGE LIMIT OF BRIEFS REGARDING PLAINTIFFS’ MOTION FOR PRELIMINARY
                                    INJUNCTION; SUPPORTING DECLARATION OF JOHN W. DILLON (3:19-CV-01226-L-AHG
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  1   preliminary injunction motion (before the change in law) that was at the 25-page limit,
  2
      after extensive revision to meet the page limit. With the change in the law, Plaintiffs
  3

  4   will need up to seven (7) additional pages to properly analyze the change in the law

  5   and how it further supports Plaintiffs’ contention that Penal Code section 27510 is a
  6
      ban on the purchase, transfer, acquisition, and possession of commonly owned
  7

  8   firearms for ordinary, lawful adults ages 18-to-20 years old in violation of the Second

  9   Amendment. See Declaration of John W. Dillon in support of parties’ motion filed
 10
      concurrently herewith.
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              PARTIES’ JOINT MOTION TO EXCEED PAGE LIMIT OF BRIEFS REGARDING PLAINTIFFS’ MOTION FOR PRELIMINARY
                                    INJUNCTION; SUPPORTING DECLARATION OF JOHN W. DILLON (3:19-CV-01226-L-AHG
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                 With this request, the parties, through their counsel, also request the same
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        extension of the page limits for Defendants' memorandum of points and authorities in
    3

    4
        opposition to Plaintiffs' preliminary injunction motion. It is the paities' view that

    5   Plaintiffs and Defendants should be afforded the same extension of page limits, as the
    6
        extended discussion in Plaintiffs' motion for preliminary injunction will require
    7

    8   additio?al response from Defendants in their opposition. Thus, the patties agree that

    9   Defendants should be granted an additional seven pages for their memorandum of
   10
        points and authorities in opposition to Plaintiffs' motion for preliminaty injunction.

                                                          Respectfully submitted,

                                                          Gatzke, Dillon & Ballance LLP

                                                          By:=..:~
                                                                ~  John Dillon


                                                               XAVIER BEC .
                                                               Attorney General of California
                                                               STEPAN A. HAYTA YAN
                                                               Supervising Deputy Atton1ey Ge                    ral




                                                               Deputy ttomey General
                                                               Attorneys ]or!Jefen ants Xavier
                                                               Becerra, in his official capacity as
                                                               Attorney General .o f the State of
                                                               California, and Brent E. Orick, in his
                                                               official capacity as Acting Director of the
                                                               Department ofJustice Bureau ofFirearms


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                PARTIES ' JOINT MOTION TO EXCEED PAGE LIMIT OF BIUEFS REGA RDING P LAINTIFFS' MOTION FOR PRELIMINAR Y
                                       f NJUNCT/ON; S UPPOR71NG D ECLARA TION OF J OrrN W. D ILLON (3: J 9-c v-01 226-L-A IJG
